Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 1 of 22




                        Exhibit 4
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Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 2 of 22
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 3 of 22




         Assessment of Xarelto Safety Based on the ROCKET AF Study Results

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                                      October 6, 2016

 My opinions are based upon a combination of materials, including those that have been
 provided to me by counsel, as well as materials that I have obtained during the course of
 my own literature search and review. The materials I have reviewed include clinical study
 reports and addenda, deposition testimony, internal company documents, other relevant
 papers and general pharmaceutical references, the product labeling for Xarelto, and where
 applicable, labeling for other drug reports. References to these documents are referenced
 within my report, as well as a listing attached as Appendix A.

 In addition, I rely upon my own education, background, training and research in the
 relevant fields of science and pharmacology. A copy of my curriculum vitae outlining my
 education, training and experience, as well as publications authored by me, is attached as
 Appendix B. My hourly fee schedule is attached as Appendix C and my list of previous
 testimony is attached as Appendix D.

 All of the opinions contained in this report are made within a reasonable degree of
 pharmacologic and scientific certainty. In formulating the opinions stated herein, I have
 employed the same analysis and level of scientific rigor that I apply in my daily clinical
 work and in drafting my publications. I reserve the right to supplement my opinions as new
 information becomes available.

                                 Summary of Opinions

    1. Because of the issues and limitations outlined above, the ROCKET AF trial does
       not provide a fair comparison of the safety (and efficacy) of rivaroxaban vs.
       warfarin for patients and clinicians who are located in the U.S. and other geographic
       regions where at least “typical” anticoagulation can be provided.

    2. With “typical management” in the U.S., the rate of major bleeding was 50% higher
       with rivaroxaban than with warfarin, yet this difference is not discussed in the
       rivaroxaban package insert and a black box warning has not been required (as is the
       case for warfarin).

    3. Recent advances in anticoagulation management suggest that the safety and
       efficacy of warfarin therapy can be improved substantially beyond what was
       reported in the ROCKET AF trial.

    4. The available data indicate that monitoring rivaroxaban levels with the PT can be
       used to reduce the risk of bleeding.

    5. The lack of a safe and effective antidote for rivaroxaban remains a concern.
                                                                                              1
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 4 of 22




    6. The rivaroxaban package insert and promotional materials (including television
       advertisements) fail to adequately warn patients or clinicians in the U.S. of the
       bleeding risk of this drug and the study limitations.

                        Relevant Background and Perspective
 Components of the Blood Clotting System:

 The clotting cascade consists of several proteins or clotting “factors.” When one clotting
 factor becomes activated, it causes a series of “down-stream” activations of other factors
 that increase in a “snowball” effect until Factor X is activated to Factor Xa which, in turn,
 activates Factor II to Factor IIa, (also known as thrombin). Thrombin results in the
 conversion of fibrinogen to fibrin which, in turn, creates a net of protein strands that form
 the structural basis of a blood clot. Importantly, thrombin also has several other
 conflicting actions which increase the clotting activity while also “turning off” the clotting
 process, and activating platelets and the body’s own clot-dissolving (“clot busting”)
 process.

 Platelets are blood cells which are activated by thrombin and a variety of other
 substances. When activated, platelets clump together to help form a blood clot and they
 also release substances that activate the clotting cascade.

 Types of Anticoagulants:

 Indirect acting: Heparin, several low molecular weight heparins (LMWH), and
 fondaparinux are injectable anticoagulants that bind with and activate a substance in the
 body called anti-thrombin (AT) which, in turn, can bind with and inactivate several
 different factors in the clotting cascade. These drugs effectively “turn off” the clotting
 cascade and can prevent it from becoming active. Heparin, which is still widely used
 today, was first discovered in 1916 and came into clinical use in the 1930s.

 Vitamin K antagonists (VKA): Chemically, these drugs are referred to as coumarins and
 they exert their effect by blocking the ability of the liver to make the functional forms of
 several clotting factors including thrombin and factor X. The VKAs are effective at
 keeping the clotting cascade from becoming activated, but they do not work well at
 “turning off” the clotting cascade once it is activated. Consequently, coumarins work to
 prevent blood clots but they are not used as initial treatment of a new clot. Warfarin (brand
 names Coumadin and Jantoven) is the most widely used VKA but several others are
 available and at least one new VKA, ticarfarin, is in clinical development. Coumarins were
 first identified in spoiled clover, and warfarin became available for clinical use in the 1950s
 (and was used in 1955 to treat Dwight Eisenhower after he had a heart attack).

 Direct acting anticoagulants (DACs): These drugs combine directly with one or more
 clotting factor to inhibit or interrupt the clotting cascade. Because these agents inhibit
 activated clotting factors, they are similar to heparin except that they do not rely on AT to

                                                                                                  2
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 5 of 22




 exert their inhibitory effect (as does heparin, and related drugs). Several injectable DACs
 have been available for some time and are primarily used in the acute care setting to treat
 heart attacks or to provide anticoagulation during invasive procedures such as angioplasty
 or stent placement. In 2010, the first oral DAC (DOAC) – dabigatran (brand name,
 Pradaxa) – was approved for use in the U.S. Dabigatran inhibits thrombin while the other
 available DOACs (rivaroxaban/Xarelto, apixaban/Eliquis, and others) inhibit activated
 Factor Xa (which works to activate factor II to IIa or thrombin).

 Monitoring, Dose Adjustment, and Reversal:

 With all of the available anticoagulants, the goal is to give enough drug to achieve the
 desired anticoagulant effect but not to give too much and increase the risk of bleeding
 unnecessarily. If the right dose of an anticoagulant is used, these agents are remarkably
 effective in preventing blood clots and the risk of bleeding is low. An incorrect dose,
 however, can easily cause more harm than good.

 Early Anticoagulants (heparin and warfarin): The effect of heparin is measured with the
 activated Partial Thromboplastin Time (aPTT). The aPTT is reported in seconds and
 measures how long it takes to form a clot after a specific reagent is added to the blood (or
 plasma). Interestingly, use of the aPTT is compromised by the fact that results vary
 depending on the sensitivity of the reagent that is used in a given lab and the result,
 therefore, may vary from one lab to another. With warfarin, the effect is measured by the
 Prothombin Time (PT) which, similar to the aPTT, is reported as the seconds required for a
 clot to form after a different reagent is added. Currently, the patient’s PT is divided by the
 laboratory’s “normal” PT to determine the Prothrombin Time Ratio (PTR). The PTR is
 then “corrected” for the sensitivity of the reagent used to determine the International
 Normalized Ratio (INR). The INR is the PTR that the laboratory would have obtained if
 the lab had been using the World Health Organization standard reagent. The INR for a
 given blood sample should be the same from lab to lab. There is no INR-type adjustment
 with the aPTT in monitoring heparin. Even though both of these medications have been in
 clinical use for more than 60 years, there is still on-going debate and clinical research as to
 how best to monitor these agents and what intensity of anticoagulation to achieve in
 selected subgroups of patients.

 Should bleeding develop or the need arise for an emergency surgical procedure, the
 anticoagulant effects of heparin and warfarin can be reversed by giving protamine for
 heparin or one of several agents for warfarin.

 Newer Indirect Acting Anticoagulants (various LMWHs and fondaparinux): These
 agents combine with AT to inactivate primarily Factor Xa and thrombin (as does heparin).
 Even so, because these agents inactivate Factor Xa more than Factor IIa (thrombin), their
 effect on the aPTT test does not demonstrate a pattern similar to that seen with heparin.
 Consequently, the aPTT is not a reliable monitoring test for these drugs. A measure of
 anti-Factor Xa activity can be useful; although anti-Factor Xa levels are not readily
 available in many labs and the anti-Factor Xa activity test has to be calibrated for the
 specific LMWH (or fondaparinux) being used. Protamine can partially, but not completely,
 reverse the activity of these agents. Initial claims were that the pharmacokinetics (PK) and
                                                                                               3
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 6 of 22




 pharmacodynamics (PD) of these drugs were so predictable that monitoring would not be
 required as long as one adjusted the dose according to the patient’s renal function. Such
 “unmonitored” therapy may be acceptable for a “typical” patient, but anti-Factor Xa levels
 often are measured for dosage adjustment in patients who are unusually large or unusually
 small, have significant renal disease, are pregnant, and have other conditions in which the
 PK or PD may be altered.

 DACs/DOACs: Because injectable DACs are used in the acute care setting with
 monitoring, they will not be discussed. The DOACs – and specifically rivaroxaban
 (brand name Xarelto) will be addressed here. The available data indicate that each of
 available DOACs may affect the aPTT and the PT tests differently.[1] Consequently, what
 is true for rivaroxaban may not be true for the other DOACs. There is a linear relationship
 between rivaroxaban plasma concentrations and PT which may allow this test to be used
 for various purposes.[1-4] There are, however, some considerations that require that the
 PT test be used differently in patients on rivaroxaban or warfarin. The relationship between
 rivaroxaban levels and the PT varies with the PT reagent and laboratory device being used
 (as is the case with warfarin), but this variability is not corrected by the INR calculation.[3]
 Therefore, when using the PT to monitor rivaroxaban, one needs to use the PT in seconds
 or the PT ratio and know what values, in a particular laboratory using a particular reagent
 and device, correlate with various rivaroxaban plasma levels. Such a laboratory-specific
 correlation of PT vs. xarelto plasma level is exactly analogous to what is done now with
 heparin and the aPTT. In the data submitted to the FDA Advisory Committee Briefing on
 September 8, 2011 rivaroxaban plasma concentrations by quartile ranged from 37.6 mcg/L
 to 272.3 mcg/L (a seven fold difference) which corresponded to PTs of approximately 13 to
 23 seconds (see Xarelto Advisory Committee Briefing Doc UCM270797 Figures 7 and
 8).[4] The same documents and figures also showed that the incidence of ischemic stroke
 appeared to be flat across this range of PT values while the incidence of major bleeding
 more than doubled at the higher end. Such findings would suggest that the PT test may be
 used to identify those individuals who have high rivaroxaban levels and an elevated risk of
 major bleeding. Further, Lipi and colleagues examined the relationship between PTs
 performed with several different reagents and plasma rivaroxaban and identified reagent-
 specific low and high “cut points PTs” for each reagent.[1] Nakano and colleagues, who
 evaluated the PT at peak and trough rivaroxaban plasma levels, found that the PT at trough
 is comparable to baseline (untreated or “normal’) PT values.[2] But peak PT values were
 significantly elevated and those with a PT > 20 seconds had approximately a 3-fold
 bleeding rate.[2] It would appear, therefore, that the PT test, which is routinely available in
 hospitals, clinics and by point of care (POC) device, can be utilized to identify patients who
 may have rivaroxaban levels that are well within the desired range or higher than optimal
 for safety purposes. Because trough PTs overlap with normal PT values, and because the
 efficacy curve appears to be flat across the desired PT range, the PT test would not be
 useful to identify a minimally effective threshold PT value. In other words, the PT test can
 be useful to identify those who have clearly adequate rivaroxaban levels or higher than
 desired levels, but it is not useful to identify those who have inadequate levels. It would
 seem logical, therefore, to use the PT test with some degree of frequency to identify those
 individuals who have plasma levels that put them at unnecessarily high bleeding risk.



                                                                                               4
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 7 of 22




 In addition to the above considerations, rivaroxaban plasma levels may be altered by
 several drug interactions, changes in renal function, food, and age. Taken together, the
 variables which may alter the response to rivaroxaban may not be as extensive as those
 seen with warfarin; but a more than two-fold increase in bleeding rates (which may be
 increased further by other factors) argue that monitoring is likely to improve the safety of
 this agent. Interestingly, both the FDA and the National Institutes of Health have
 addressed this issue. The FDA’s Center for Drug Evaluation and Research Summary
 Review of application number 202439Orig1s000 dated Nov. 4, 2011 pointed out that there
 appears to be a relationship between rivaroxaban levels and bleeding and that some
 monitoring may improve outcomes.[5] In August, 2016, the National Heart Lung and
 Blood Institute of the National Institutes of Health released its 10-year research agenda,
 “Charting the Future Together, The NHLBI Strategic Vision.”[6] In their proposed agenda,
 one priority is to study how laboratory monitoring and use of other technologies may
 influence the outcomes of patients with atrial fibrillation (AF) and deep vein thrombosis
 when treated with a DOAC or warfarin.[6] It would seem, therefore, that both the FDA
 and the NIH support the position that plasma monitoring and dose adjustments of DOACs
 are likely clinically important. At present, there is no antidote for rivaroxaban but one is in
 development. The cost, availability, and whether negating a direct inhibitor will result in
 thrombosis are all concerns about any DOAC antidote.

              Warfarin vs. Rivaroxaban in Atrial Fibrillation (AF)

 Potential Efficacy, Safety and Efficiency of Warfarin Therapy:

 As depicted in Slide 1 in the attached slide set (and consistent with other studies), the dose
 of warfarin needs to be adjusted to keep the INR blood test within the target range 60% to
 70% of the time in order for warfarin to reduce the risk of stroke in AF compared to no
 treatment.[7] As the percent of time that the INR is within the target range (%TTR) falls
 below that value, benefit is lost and the rate of stroke increases as much as three-fold
 compared to no treatment at all. That is, poor warfarin management (defined as < 60%
 TTR) may increase (rather than decrease) the risk of stroke in AF. Slide 2, derived from
 data by Wan, et al.,[8] illustrates how excellent INR control (75% TTR) is projected to
 reduce the rate of blood clots and major bleeding by approximately 80% to average event
 rates of about 1% per year – or 10 per 1,000 patients per year.[8] Furthermore, because
 event rates increase exponentially when the INRs are at extreme values (Slide 3), avoiding
 such extreme values may improve safety and efficacy in addition to improving %TTR.[9]
 The percent of time at extreme values has been quite high in earlier studies.[10,11] But can
 such low event rates with warfarin be achieved in routine practice? Utilizing computerized
 support systems, investigators from Sweden [12], the United Kingdom 13], and The
 Netherlands [14] in just the last two years have reported bleeding rates that were
 comparable to the predicted rates and less than one-half of the rates reported with warfarin
 or rivaroxaban in the ROCKET AF trial (Table 1). [15] These results were achieved in
 well-organized clinics in which the average %TTR often was 70% or greater.




                                                                                              5
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 8 of 22




 Table 1: Reported and projected events* with warfarin; events expressed as number of
 events per 1,000 patient-years.
       Source & number of patients                Maj. Bleed               ICH               Stroke
 Rocket (n = 7,125) [15]                             34.0                    7                19.6
 Projected (equations of Wan, et al at
 75% TTR)* [8]                                       11.0                   2.6                6.9
 Sweden (for 57% with TTR > 70%, n =
 22,185) [12]                                        16.1                   3.4                NR
 European Action on Anticoagulation
 (n = 5,939) [13]                                     8.6                   NR                 3.0
 The Netherlands (70 to > 90 yr olds and
 target INRs of 2 – 3.5 and 2.5 – 4.0)
 (n = 3,313) [14]                                   9 – 11                 3–5                 NR
 *Major bleeding and thromboembolism rates were calculated according to the equations developed
 by Wan, et al [8]. These rates were further divided into specific event rates based on the relative
 average distribution reported in the warfarin arms of ROCKET AF and the major AF trials with the
 other DOACs

 Achieving well-managed warfarin therapy requires frequent INR testing and dosage
 adjustment. Recently, several small studies have addressed this issue by combining
 frequent INR self-testing at home with online monitoring and management.[16 - 21] Each
 of these studies achieved a mean %TTR of 74% or greater, and for the three studies that
 reported %TTR at extreme values [17, 19, 20], the % of time at extreme values was less
 than 2% (vs. 15% to 20% in earlier trials).[10,11] In one year-long study that examined the
 %TTR for individual patients, every patient achieved and maintained a % TTR > 75%;
 even the quartile of patients who had a mean %TTR of less than 25% over the six months
 before entering the study.[20]

 Based on the data reviewed above, it would appear that achieving good INR control (>
 70% TTR) is readily achievable and is associated with a bleeding rate that is less than one-
 half of that reported with warfarin in the ROCKET AF trial (Table 1). In the ROCKET AF
 trial, rivaroxaban was compared to poorly managed warfarin. [15] The major bleeding rate
 reported for the warfarin group (at a mean %TTR of 55%) was 34 major bleeds per 1,000
 patients per year. The estimated rate for a 55% TTR is 35 major bleeds per 1,000 patients
 per year [Slide 2, ref. 8] while the estimated rate for a 75% TTR is 11 major bleeds per
 1,000 patients per year. The reported major bleeding rate with rivaroxaban was 36 per
 1,000 patients per year. The bottom line is that the reported major bleeding rates with
 warfarin and rivaroxaban were approximately 35 events per 1,000 patients per year while
 one would have expected only 11 such events if a TTR of 75% had been maintained.


 Why are the Data and the Information in the Package Insert for Rivaroxaban
 Misleading?

 It is logical to question why the INR control was so poor in the ROCKET AF trial and
 whether other factors may have contributed to a misleading interpretation of the data.


                                                                                                   6
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 9 of 22




 During the FDA approval hearing on rivaroxaban in 2011, Martin Rose, MD, JD of the
 FDA suggested that the essentials of VKA management were not adequate in the
 rivaroxaban study when he pointed out “that the ROCKET AF study enrolled the
 majority of its patients from regions where physicians don’t use warfarin very
 well….and that’s our major concern with this study… Very few patients were
 enrolled at sites where warfarin was used skillfully, resulting in insufficient data to
 assess the efficacy of rivaroxaban to warfarin when the latter is used well.”[22]

 Although Dr. Rose’s comments questioned the efficacy of warfarin because of geographical
 differences in warfarin management, closer examination of the data also indicate that the
 safety of warfarin use was not indicative of good warfarin management. Furthermore,
 issues other than geographical differences in warfarin management also appear to have
 contributed to worse outcomes with warfarin. The “bottom line” is that poor warfarin
 management and other factors led to worse outcomes in the warfarin-treated arm of
 the ROCKET AF trial to the extent that the overall study results are not applicable to
 sites in the U.S. or in other areas in which warfarin is moderately well managed.

 Although the validity of the previous statement applies to thromboembolic and
 hemorrhagic events, let’s consider the following seven issues related to bleeding risk and
 examine them in more detail.

    1. Major bleeding was 50% greater with rivaroxaban than with warfarin in U.S.
       patients.
    2. Anticoagulation control was consistently better in North America than other
       regions. The majority (65%) of patients were enrolled in countries or regions where
       warfarin management (INR control and clinical follow up) was so poor that
       treatment may have done more harm than good. North America (NA) enrolled 19%
       of patients and Western Europe (WE) enrolled 16%.
    3. In East Asian sites, which enrolled only 6.5% of patients, warfarin-treated patients
       had a several fold higher rate of intracranial hemorrhage (ICH) than in other regions
       and this fact skewed the overall study results in favor of rivaroxaban.
    4. Reliance on a subsequently recalled point of care (POC) or “fingerstick” INR
       device increased the risks for warfarin-treated patients across all study sites.
    5. Limited data suggest that “unskilled” dosage adjustments may have contributed to
       major bleeding risk.
    6. Failure to exclude patients with substantial elevations in blood pressure may have
       contributed to an increased risk of bleeding and hemorrhagic stroke.
    7. Recent data indicate that the safety and efficacy of warfarin is much better, at least
       in some settings, than was reported in the ROCKET AF trial

 1. Major bleeding was significantly 43% higher in North America [23] and 50%
    higher in the U.S. [24] with rivaroxaban than with warfarin, but this fact is not
    adequately addressed in professional promotional literature (such as the package
    insert) or direct-to-consumer advertising.

    Because FDA approval of a new medication is expected to reflect the relative safety for
    the U.S. population, it would seem logical for the FDA drug approval process to focus
                                                                                              7
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 10 of 22




    on how rivaroxaban compared to warfarin in approximately 2,000 U.S. patients in the
    ROCKET AF trial. A backup set of 500 slides that Janssen reportedly prepared for an
    FDA Advisory Committee meeting [24] reveals the following information:

    •   Slide IN-530 shows that the major bleeding rate was statistically higher with
        rivaroxaban than with warfarin in the U.S.
    •   Slide IN-203 indicates that this high major bleeding rate with rivaroxaban in the
        U.S. was statistically 50% higher than with warfarin.
    •   Slides IN-200 and IN-203, by comparing U.S. event rates for rivaroxaban and
        warfarin, indicate that rivaroxaban produced 10 fewer strokes (a difference that
        failed to achieve statistical significance) at a cost of 36 more major bleeds (which
        was statistically significant). In other words, from a statistical perspective,
        rivaroxaban was not significantly more effective, but it was significantly more
        dangerous.

    When one considers the above data, one has to question why the rivaroxaban package
    insert (PI) does not contain a black box warning about its bleeding risk as was required
    for warfarin (with its lower bleeding risk) in 2006.[25] In fact, the higher U.S. major
    bleeding rate with rivaroxaban is not discussed at all in the PI and was only added to a
    data table after requested by the FDA.[26] This difference in PI content is misleading in
    terms of relative safety. Similarly, if one reviews the rivaroxaban PI, the risk of major
    bleeding is not presented up front as a warning, but rather is mainly addressed further
    back in the data section. Such PI placement and lack of emphasis on the greater
    bleeding risk with rivaroxaban in the U.S. can mislead U.S. clinicians and patients to
    conclude that rivaroxaban has a lower (not higher) bleeding rate than warfarin. Such
    misperception is further perpetuated in direct to consumer advertisements that do not
    identify the rivaroxaban bleeding risk as being greater than that of warfarin. These
    factors combined have contributed to the use of the drug that is not recognized by many
    clinicians and patients to carry a higher major bleeding risk than does warfarin in the
    U.S.

 2. Anticoagulation control was consistently better in North America than other
    regions and most patients were enrolled in regions with poor anticoagulation
    control and management. Because 65% of study patients were enrolled from
    regions where warfarin management was very poor, this skewed the data in favor
    of rivaroxaban and made the overall data not applicable to use in the U.S.

     Note: In some cases, data were available by country while in other instances, the data
     were grouped by geographic region. North America (NA) included Canada and the
     U.S. with approximately 75% of NA patients enrolled from the U.S.

     The safety and efficacy of warfarin is closely linked to how well the warfarin dosing is
     managed as discussed above and illustrated in the attached Slides 1 – 3. Slide 3
     indicates that the risk of a major event is quite low when patients with atrial fibrillation
     have an INR within the target range of 2 to 3, but that risk can rise exponentially as
     one’s INR moves toward more “extreme” values. This relationship between INR

                                                                                               8
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 11 of 22




     control and events has led to several methods being advocated to judge warfarin
     management and as predictors of major event rates.

     •   %TTR, %iTTR, %expanded TTR and center TTR: The most commonly used
         measure of anticoagulation control is the percent of Time that the patient spends
         within the Target Range (%TTR). But the %TTR for a group of patients or clinic
         population can obscure the fact that some patients may have very poor INR control
         while others may have very good INR control. For that reason, the %TTR for
         individual patients (%iTTR) may be more useful. Also, because the risk of
         adverse events does not increase greatly when the INR is only marginally out of
         range, some value the %TTR in an “expanded” range (such as an INR target of 1.8
         to 3.5). Note that NA had the best (highest) TTR and “expanded” TTR (Table
         2).
     •   INR variance or standard deviation: Although %TTR and %iTTR provide
         insight into the percent of time spent out of range, it does not provide information
         on how far out of range the patients were or how much time was spent at extreme
         INR values. Again, from Slide 3 in the attached set, we can see that the risk of a
         major event increases exponentially as the INR moves beyond certain limits. The
         variance (or standard deviation) in the INR provides an indication of how widely
         the INR has fluctuated and in some [27, 28], but not all [10] studies, the variance
         in the INR has been a better predictor of major events than the %TTR. It is likely
         that variance is a stronger predictor in settings with poor (low) %TTR while it may
         be less important in settings with high %TTR.[10] Note that NA had the best
         (lowest) variance or standard deviation (Table 2). [Slides 10 and 13, Ref # 24]

 Table 2. INR control by region.
                         NA              WE               LA            EA/AP              EE
 %TTR                    63.8            58.1            53.6             52.0            48.6
 Stand. Dev.              19             20.5            21.5             24.1            22.2
 Expand. %TTR             84              83                             70%              70%
 NA = North America, WE = Western Europe, LA = Latin America, EA/AP = East Asia/Asian
 Pacific, EE = Eastern Europe Note that NA had the best INR control as indicated the highest
 %TTR, the lowest variance or standard deviation, and the highest expanded %TTR.

     •   %iTTR > 60% and/or > 75%: Attached Slide 1 illustrates that one needs to
         achieve an iTTR greater than 60% in order to reduce the risk of stroke, that the risk
         of stroke declines further with higher iTTR values (such as > 75%), and that as the
         iTTR falls to lower values, the adjusted risk of stroke actually increases over no
         treatment.[7] Similarly, the risk of major bleeding demonstrates a very similar
         pattern (attached Slide 2). For these reasons, knowing the number or percent of
         patients that achieve given levels of INR control (such as the % of patients with a
         %iTTR < 60% and > 75%) is important. Note that NA had the best indicators of
         INR control in this category - the lowest %iTTR < 60 and the highest %iTTR
         > 75. [29]




                                                                                            9
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 12 of 22




 Table 3: Percent of patients who had iTTRs in different ranges by region.
                          NA           WE              LA            EA/AP             EE
 < 60% TTR                36.1        48.6             58.7            59.6           67.8
 60 – 75% TTR             33.4        30.9             26.3            22.4           21.2
 >75% TTR                 30.5        20.5             15.0            18.2           11.0
 NA = North America, WE = Western Europe, LA = Latin America, EA/AP = East Asia/Asian
 Pacific, EE = Eastern Europe

     •   %Time at extreme INRs: Another measure of poor INR control (that relates to
         the issue of INR variance) is the percent of time spent at the dangerous extreme
         INR values. In patients with atrial fibrillation, the focus may be on time spent at
         INRs < 1.7 (where the risk of stroke increases several fold) and/or > 4.0 (where the
         bleeding risk increases exponentially) (see attached Slide 3). Note that NA and
         WE (which combined enrolled 35% of patients) had better indicators in this
         measure (much lower % time at extreme INRs) than other regions (Table 4).
         [30]

 Table 4: Percent of patients who had iTTRs in different ranges by region.
                           NA              WE             LA             EA/AP             EE
 % Time < 1.7              8.0             8.0            na              18.8            19.7
 % Time > 4.               na               na            na               na              na
 na = not available, NA = North America, WE = Western Europe, LA = Latin America, EA/AP =
 East Asia/Asian Pacific, EE = Eastern Europe

     •   Time to follow-up after an extreme INR: Because the risk of stroke increases by
         three-fold or more when the INR falls to 1.5 or lower, and because the risk of
         major bleeding increases exponentially above an INR of 4.0, how quickly such
         extreme values are dealt with is of critical importance. As indicated in Table 5,
         such values received follow-up within an average time of only about one week in
         NA and WE, but in other regions the follow-up was delayed for more than 3
         weeks. [30] Such a prolonged delay would likely constitute malpractice in the U.S.

 Table 5: Time (days) to follow-up after an extreme INR of < 1.5 or > 4.0 by region.
                           NA              WE             LA             EA/AP            EE
 < 1.5                      9               9                             27              26
 > 4.                       7               7             na              23              25
 na = not available, NA = North America, WE = Western Europe, LA = Latin America, EA/AP =
 East Asia/Asian Pacific, EE = Eastern Europe

     •   Center TTR (cTTR): Center TTR (cTTR) is not often used to assess
         anticoagulation control but has been used to compare warfarin vs DOAC event
         rates in ROCKET AF and other clinical trials. The rationale behind this method is
         that the cTTR is an indication of the overall care that the patient is receiving and,
         therefore, that the outcome in sites with a high cTTR are likely better for both the
         warfarin and the DOAC groups. This would likely be valid if a given clinic TTR
         represented the same level of care from site to site and from country to country.
         But we know that clinics with the same TTR may have different dispersions of
         iTTR; one site may have most of its patients with iTTR values clustered close to
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Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 13 of 22




         the mean clinic TTR while another site may have patients more widely dispersed
         with very high and very low iTTR. Two such sites would likely have different
         variance measures in the INR, might have different intensities of patient education,
         could have different amounts of patient-time spent at extreme INRs, and the
         clinical follow-up may be more intense in one site than the other. All of these
         factors would result in differences in quality of care even though the two sites
         might have the same cTTR.

 3. In East Asian sites, which enrolled only 6.5% of patients, warfarin-treated
    patients had a 3.9 fold greater intracranial hemorrhage (ICH) rate than did non-
    East Asian patients (2.46 vs 0.63).[31] Inclusion of data from this relatively small
    group of patients in the overall analysis misleads clinicians to think that the ICH
    rate was higher in other locations (which did not demonstrate this difference).
    Similarly, other major bleeding rates were also higher in East Asian sites but not
    to the same extent as the ICH difference. A lower ICH rate is very often touted as an
    advantage of rivaroxaban over warfarin but this touted difference becomes non-
    significant if the 6.5% of patients enrolled from East Asian sites are excluded from the
    analysis (Table 6). In the 93.5% of patients who were enrolled from non-Asian sites (n
    = 14,254), the ICH rates per 1,000 patients per year were not statistically different (4.9
    with rivaroxaban vs. 6.3 with warfarin) even though most of these patients were
    enrolled from regions with poor INR control. In the previously cited Swedish study,
    the rate of ICH among the more than 22,000 patients who had a %TTR > 70%, the ICH
    rate was 3.4.[12] As expected, hemorrhagic stroke (as a category of ICH) was similarly
    increased by a factor of 2.5 in East Asians taking warfarin (1.24 vs. 0.49), but this
    difference did not achieve statistical significance. Other categories of major bleeding
    tended to be higher in East Asians but the differences were not statistically significant.
    Besides rather poor INR control in East Asian countries, other factors that may have
    contributed to such a high bleeding rate include increased prevalence of genetic
    sensitivity to warfarin, dietary differences, and the greater use of potentially interacting
    herbal supplements.

 Table 6. Intracranial Hemorrhage (ICH) Rates in Selected Populations
                                                                         ICH Rates
          Population of Patients by site and drug                per 1,000 Patients per year
 ROCKET AF – East Asian, Warfarin n = 464                                   24.6
 ROCKET AF – East Asian, Rivaroxaban n =468                                  5.9
 ROCKET AF – non-East Asian, Warfarin n = 6,669                              6.3
 ROCKET AF – non- East Asian, Rivaroxaban n = 6,663                          4.9
 Sweden, Warfarin at %TTR > 70 n = 22,185                                    3.4
 The Netherlands, Warfarin n = 3,313*                                      3 – 5*
 ROCKET AF trial [9] data from Sweden [12] and The Netherlands [14] *All patients were more
 than 70 years old and the rate of ICH was higher in the very elderly.




                                                                                               11
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 14 of 22




 4. Reliance on a subsequently recalled point of care (POC) or “fingerstick” INR
    device increased the risks for warfarin-treated patients across all study sites. The
    INRatio “fingerstick” INR device was used throughout the ROCKET AF trial to adjust
    warfarin doses. Blood samples were obtained for comparison at weeks 12 and 24 of the
    trial. Subsequently, the device was recalled because of discrepant results. The initial
    recall implied that erroneous results occurred primarily in patients with certain
    specified conditions. The European Medicines Agency analysis [32] and a US. based
    analysis [33] concluded that discrepant INR values in patients with the specified
    conditions would not alter the conclusions of the study. Subsequently, however, it was
    found that apparently erroneous INR results were distributed equally across individuals
    with and without the specified conditions. A letter to the editor challenging the earlier
    analyses [34] drew a response that included more information and further analysis.[35].
    Taken together, these last two publications [34,35] revealed that when lab and POC
    INRs are compared by therapeutic INR ranges of < 2, 2 – 3, >3 – 4, and > 4.:

     •   Results by ranges did not agree almost 40% of the time (meaning that the INR
         would be in one range by one method and in a different range by the other
         method).
     •   When the POC INR was in range (2 – 3, n = 5695), only 61.9% (n = 3528) of lab
         INRs were in range.
     •   When lab INR results were in range (2 – 3, n = 4,796), only 73.6% (n = 3,528) of
         POC INR results were in range.
     •   When lab INRs were > 4 where a dosage reduction would be clearly indicated (n =
         1,517), 30.1% (n = 467) of POC INRs were < 3 and 6.2% were < 2.
     •   When POC INRs were < 2 where a dosage increase would be in order (n = 2,218),
         51.9% (n = 1,151) of lab INRs were in range while 5.2% were in the 3 – 4 range,
         and 4.3% were > 4.

     While the more recent analysis described above clearly indicates a clinically important
     problem with the POC device used in this trial, it is difficult to determine what the
     clinical impact was. While the risk of bleeding is closely linked to INR control, it
     should be acknowledged that a modest elevation in the INR above the target range will
     not necessarily lead to a bleeding event. For example, if the INR is in range, the risk
     of a major bleeding event may be 1% or less over a year’s time. If the INR is modestly
     above the target range, the risk of bleeding may increase 3 to 5 fold; but the event rate
     would still be only 3% to 5% per year. Therefore, if faulty POC INR results led to
     over anticoagulation, the resulting high bleeding rate of perhaps 5% in absolute terms
     might not be immediately obvious. Furthermore, a variety of other factors can
     influence the rate of bleeding events further clouding the assessment of the impact of
     faulty POC INR results in a large population. Because of such considerations, an
     examination of the records was conducted of those patients who did bleed shortly after
     having both lab and POC INR results performed. None of the published analyses took
     this approach of looking at cases of major or non-major clinically relevant bleeds to
     see if INR discrepancies may have led to a bleeding event. The data presented in
     DiBattiste Exhibit 7 [36] provides the opportunity to evaluate this question by
     comparing lab and POC INRs at weeks 12 and 24 in those patients who experienced

                                                                                           12
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 15 of 22




     such bleeding events within the next 30 days or before the next visit. There were 13
     such patients in the 12 week group and 15 patients in the 24 week group for a total of
     28 patients with major bleeds in the immediate period after dual INR samples were
     collected. One patient in the 24 week group did not have a POC INR reported which
     left 27 evaluable patients. The data from both periods were combined and evaluated
     according to the following criteria with the results presented in Table 7.

     The first step was to identify instances in which POC and lab discrepancies were
     clearly not an issue contributing to the bleeding event. In this assessment, the criteria
     were (a) both values were within the target range, (b) both values were above the target
     range but < 3.5, and (c) both values were below the target range but were similar
     (difference of 0.3 INR units or less). Only 8 of 27 patients (30%) met the criteria to
     exclude a contribution of faulty POC INR results to the bleeding events.

     The second step was to examine whether faulty POC INR results may have led to a
     failure to make an appropriate dose reduction or to an inappropriate dose increase. The
     criteria used included (d) failure to reduce the dose when the POC INR was in range
     but the lab INR was high, (e) failure to reduce the dose adequately because both INRs
     were high and the lab INR was at least 0.5 INR units higher than the POC INR
     (perhaps suggesting a larger dose reduction was in order), (f) unwarranted dose
     increase due to a POC INR being low when the INR was high, and (g) unwarranted
     dose increase due to POC INR being below range with the lab INR in range and either
     the difference being at least 0.5 INR units or the POC being 1.7 or less. Thirteen
     (48%) met the criteria for likely failure to reduce the warfarin dose when needed and
     six (22%) met the criteria for likely having an unwarranted dose increase. The
     combined total is 19 patients (70%) for those with bleeding having a plausible
     explanation for faulty POC results contributing to the bleeding event. Furthermore, as
     indicated in the Table 7, when patients met the criteria that discrepant pairs likely
     contributed to the bleed, the difference in mean INR results for each criterion was very
     large. In almost all cases, the mean lab INR was approximately 2 INR units higher
     than the mean POC INR for each of the criteria.

     Table 7: Potential Impact of Lower POC INR on Bleeding Events (n = 27) [36]
                                                                                 Mean (range)
     Criteria for assessing impact of POC v Lab INRs      N (%)     POC INR      Lab INR            Diff.
     POC Results Likely NOT Harmful
     (a) No Impact, both values in range (5 of 6 were    6 (22%)*      2.40         2.42            0.89
          in week 24)*                                              (2.0-2.9)   (2.0-2.78)        (0-0.17)
     (b) No Impact, both values above range and <        1 (4%)*     3.1 (na)     3.33 (na)       0.21 (na)
          3.5 (POC above range only in wk 12)*
     (c) No Impact, both values below range with          1 (4%)     1.5 (na)    1.75 (na)        0.25 (na)
          difference of 0.3 INR units or less
                                                 Total   8 (30%)

     POC Results Likely Harmful
     (d) Failure to decrease dose: POC INR in range,                  2.57          4.31            1.76
         lab INR high                                     9 (33%)   (2.3-2.8)   (3.24–8.35)     (0.51-5.75)
     (e) Failure to decrease dose adequately: Both       4 (15%)*     4.52          6.64            1.96
         values above range and Lab > POC by > 0.5                  (3.8-6.1)   (4.74-8.43)      (0.82-3.76

                                                                                                       13
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 16 of 22



         INR units (POC above range only in wk 12)*
                        Total failure to decrease dose   13 (48%)
     (f) Unwarranted dose increase: POC < range,           1 (4%)   1.6 (na)     11.0 (na)     9.4 (na)
         Lab high
     (g) Unwarranted dose increase: POC < range           5 (21%)     1.58          3.78          2.2
         and Lab in range and (a) 0.5 INR units                     (1.3-1.8)   (2.06-9.09)   (0.46-7.49)
         higher than POC or (b) POC =1.7 or less
                      Total unwarranted dose increase    6 (22%)
         Combined total likely harmed by POC results     19 (70%)
     *Note: Although data from week 12 and week 24 were combined in this analysis, a couple of
     unexplained differences were observed between the two periods. All of the 5 instances in
     which the POC INR was above the target range occurred at week 12; there were no POC INR
     results above the target range in week 24. Almost all (5 of 6) instances when both POC and
     lab INRs were in range, 5 occurred in week 24. I have no explanation for these week 12 vs
     week 24 differences in the distribution of data.

 5. Limited data suggest that “unskilled” dosage adjustments may have contributed
    to bleeding risk. According to the FDA Advisory Committee meeting transcript, there
    was considerable discussion of whether the high bleeding rate with rivaroxaban may
    have been due to “unskilled” management of the warfarin dose.[22] Much of the
    information presented above regarding INR control would suggest that the warfarin
    management was very poor (or “unskilled”) in the regions that enrolled the majority of
    patients. Assessment of the appropriateness of dosage changes in the data presented by
    Janssen is not feasible because dosage changes were presented as specific mg. dosage
    changes. Such information is not very useful because the individual dose of warfarin is
    so variable. For example, one patient may require 7 mg of warfarin per week while
    another may require 140 mg (or more) per week. A 2 mg/wk increase in the former is a
    dose increase of approximately 29% while in the latter it would be less than a 2% dose
    increase. During chronic dosing, most appropriate changes in dose will be 5% to 10%
    of the weekly dose with a 20% change being an unusually large change.

 6. Failure to exclude patients with substantial elevations in blood pressure may have
    contributed to an increased risk of major bleeding and stroke. A review by Hart, et
    al. [37], concluded that an elevation of 9 mm Hg in systolic blood pressure in warfarin-
    treated patients doubles the intracranial hemorrhage risk while an increase of 12 mm
    Hg triples the risk. Further, Rao, et al [38] found that patients who had poor blood
    pressure control (defined as systolic pressure of 140 mm Hg or higher and/or diastolic
    pressure of 90 mm Hg or higher) at any time during one large study had a 50% higher
    stroke rate. With these factors in mind, it is very concerning that the ROCKET AF
    protocol allowed patients to enter the trial with blood pressures up to 180/100 mm Hg.
    While we do not know how many patients entered the trial with such high blood
    pressure readings, we do know that approximately 90% of the patients had high blood
    pressure and that high blood pressure was associated with an increased risk of
    bleeding.[23]




                                                                                                     14
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 17 of 22




 Summary: Because of the issues and limitations outlined above, the ROCKET AF trial
 does not provide a fair comparison of the safety (and efficacy) of rivaroxaban vs. warfarin
 for patients and clinicians who are located in the U.S. and other geographic regions where
 at least “typical” anticoagulation can be provided. With “typical management” in the U.S.,
 the rate of major bleeding was 50% higher with rivaroxaban than with warfarin, yet this
 difference is not discussed in the rivaroxaban package insert and a black box warning has
 not been required (as is the case for warfarin). Recent advances in anticoagulation
 management suggest that the safety and efficacy of warfarin therapy can be improved
 substantially beyond what was reported in the ROCKET AF trial. The available data
 indicate that monitoring rivaroxaban levels with the PT can be used to reduce the risk of
 bleeding. The lack of a safe and effective antidote for rivaroxaban remains a concern.
 Lastly, the rivaroxaban package insert and promotional materials (including television
 advertisements) fail to adequately warn patients or clinicians in the U.S. of the bleeding
 risk of this drug and the study limitations.




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Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 18 of 22




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Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 19 of 22



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Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 20 of 22



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Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 21 of 22




                           Attached Slides (3)

 Slide 1




 Slide 2




                                                                     19
Case 2:14-md-02592-EEF-MBN Document 5113-12 Filed 01/20/17 Page 22 of 22




 Slide 3




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